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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS
                                    (Wichita Docket)


UNITED STATES OF AMERICA

                              Plaintiff,

v.                                                         Case Number: 16-M-6151-GEB


CURTIS WAYNE ALLEN,
PATRICK EUGENE STEIN, and                                  FILED UNDER SEAL
GAVIN WAYNE WRIGHT,

                              Defendants.


                             SEALED CRIMINAL COMPLAINT

       I, Federal Bureau of Investigation Task Force Officer Chad B. Moore, being duly sworn,

state the following is true and correct to the best of my knowledge and belief, and establishes

probable cause that the following offenses have been committed:

                                            COUNT 1

       Beginning in approximately February 2016 and continuing until on or about October 12,

2016, in the District of Kansas, the defendants,

                                 CURTIS WAYNE ALLEN,
                               PATRICK EUGENE STEIN, and
                                 GAVIN WAYNE WRIGHT,

without lawful authority, conspired with each other and with others, to use a weapon of mass

destruction (i.e., an explosive device as defined by Title 18, United States Code, Section 921)

against people and property within the United States and such property is used in interstate and

foreign commerce, and the offense, and the results of the offense, would have affected interstate

or foreign commerce.
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       All in violation of Title 18, United States Code, Sections 2 & 2332a(a)(2)(D).

______________________________________________________________________________

       The following facts were made known to me by personal observation or from information

I received from other law enforcement officers, and/or from other individuals and does not

contain all facts known to me, but only those facts sufficient to establish probable cause.

Furthermore, statements of individuals, including those attributed to the defendants, are set forth

in substance and in part: I, Chad Moore, a Task Force Officer with the FBI, being first duly

sworn, hereby depose and state:

                                       INTRODUCTION

       1.       This Affidavit is offered in support of a criminal complaint charging Curtis

Wayne ALLEN, Patrick Eugene STEIN, and Gavin Wayne WRIGHT with violations of

federal statutes concerning Arson/Explosives and Use of a Weapon of Mass Destruction (18

U.S.C. §§ 2, 844(h), (i), & (m), and 2332a).

       2.       Since February 2016, the Federal Bureau of Investigation (FBI) has been

conducting a domestic terrorism investigation of a group of individuals operating in

southwestern Kansas who identifies themselves as “the Crusaders.” This is a militia group

whose members support and espouse sovereign citizen, anti-government, anti-Muslim, and anti-

immigrant extremist beliefs. Certain key members of this group, including Patrick STEIN,

Curtis ALLEN, and Gavin WRIGHT, have been regularly meeting and planning to carry out a

violent attack against Muslims in their community and have taken steps in furtherance of

accomplishing this, including identifying a target location. These individuals regularly use their

cell phones to arrange the meetings and also utilize them to engage in additional discussion and




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coordination of their plans via a conference call app called Zello. 1 These activities are being

done in violation of Arson/Explosives and Weapons of Mass Destruction statutes (18 U.S.C. §§

844 and 2332a).

       3.       Based on my training and experience, and the facts set forth in this Affidavit, I

believe there is probable cause that violations of federal law have been committed in the District

of Kansas.

       4.       The facts in this Affidavit come from my personal observations, my training and

experience, and information obtained from other law enforcement officers, federal agents, and

witnesses. Because this Affidavit is being submitted to support only a finding of probable cause,

I have not set forth all of my knowledge regarding the investigation.

                                 BACKGROUND OF AFFIANT

       5.       I am a Task Force Officer with the Federal Bureau of Investigation (FBI) and

have been so employed since February 2013. As such, I am an investigator or law enforcement

officer of the United States within the meaning of 18 U.S.C. § 2510(7). I have been employed as

a Kansas State Trooper with the Kansas Highway Patrol since 2007 and have been a certified law

enforcement officer since 1996. Since August 2013, I have been assigned to the Federal Bureau

of Investigation Kansas City Joint Terrorism Task Force.

       6.       During my tenure in law enforcement, I have participated in numerous and varied

types of investigations, including, but not limited to: Terrorism investigations, weapons

violations, crimes involving the transportation, possession, manufacture, and/or distribution of

controlled substances. I have also received training in complex conspiracy investigations, money

laundering, telecommunications exploitation, and asset forfeiture.
1
 Zello is a phone-based application that allows the user to communicate with other Zello users
as if their cellular telephones were push-to-talk walkie-talkies.

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                                  BACKGROUND OF CASE

       7.       This investigation began based on reporting from a reliable, paid Confidential

Human Source (CHS) who has attended numerous Crusaders meetings where plans were

discussed to carry out a violent attack against Muslims (whom the group members refer to as

“cockroaches”) in southwestern Kansas. These groups meet in person frequently, as often as

once per week, and also engage in frequent communication daily through a telephone application

(app) called Zello. Information provided by the CHS has been verified multiple times through

consensual monitoring of phone calls and messages, as well as recordings of meetings made

when the CHS was wearing a body recorder. On at least one occasion a local law enforcement

officer provided information consistent with CHS reporting over several topics. The CHS has

been further corroborated through social media and open source reporting.

       8.       Through recordings, CHS cooperation and reporting, and open source and social

media investigation, STEIN, ALLEN, and WRIGHT have been identified as members of the

aforementioned militia group. They have also been determined to be the primary architects of the

attack plan. STEIN has been identified as a leader within the Crusaders. ALLEN is a close

associate of STEIN’s, and has led meetings of the Crusaders. WRIGHT is also a member of the

Crusaders and has participated in the planning of the attack.

                                      PROBABLE CAUSE

       9.       The investigation to date has revealed that Crusaders members Patrick STEIN,

Curtis ALLEN, and Gavin WRIGHT are conspiring to carry out a domestic terrorist attack by

using an improvised explosive device (IED) to destroy an apartment complex in Garden City,

Kansas, which contains a mosque and is home to many Muslims. Their activities have

demonstrated, and continue to demonstrate, actions taken in furtherance of this scheme. They



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have routinely expressed a hatred for Muslims, individuals of Somali descent, and immigrants.

They chose the target location based on their hatred of these groups, their perception that these

groups represent a threat to American society, a desire to inspire other militia groups, and a

desire to “wake people up.”

       10.     According to CHS reporting, on three separate occasions STEIN conducted

surveillance on potential target locations around Garden City and other parts of southwestern

Kansas. These surveillances were conducted on a mall frequented by members of the Somali

community, and a mosque located in an apartment complex, as well as on various vehicles

believed to be occupied by individuals of Somali descent or Muslims. On one such surveillance

in February 2016 when the CHS was driving STEIN around, STEIN at various times yelled at

Somali women dressed in traditional garb, calling them “fucking raghead bitches.” STEIN also

referred to Somalis as “cockroaches” and said several times that they needed to eliminate the

Somalis. During the surveillance, STEIN had with him a pistol, an assault rifle with several

magazines, a ballistic vest, and a night vision scope. He also mentioned to the CHS that he had

done several surveillances like this on his own in the past and that he always made sure he was

armed. STEIN also discussed Oklahoma City and the bomb used (referring to the fuel oil and

ammonium nitrate device used by Timothy McVeigh to destroy the Murrah Building in

Oklahoma City). He was looking for any more explosives or things he could use to blow things

up.

       11.     During a Zello conference call in April 2016, STEIN stated, “Make sure if you

start using your bow on them cockroaches, make sure you dip them in pig’s blood before you

shoot them.” This conversation was recorded via consensual monitoring by the CHS.




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       12.     In a May 2016 meeting, ALLEN stated:

               “We need to get some signs made up…hundreds of them, kind of
               like the redneck deal, ‘here’s your sign’ and just put right there on
               it: I SUPPORT ILLEGAL IMMIGRATION, I GO AGAINST
               THE CONSTITUTION ON A DAILY BASIS, I DO NOT HAVE
               ANY CARE FOR MY FELLOW CITIZENS IN THE STATE OR
               IN THE TOWN THAT I REPRESENT…and then for every one of
               them that we blow the top of their head off we just put that around
               their neck.”

STEIN said he liked the idea. This conversation was recorded via consensual monitoring.

       13.     During a phone call to the CHS in May 2016, STEIN talked about some of his

frustrations. STEIN wanted to just go do something. He said he wanted to get a .22, go over to

Garden City, Kansas, start kicking in the doors of the Somali apartments, and kill them one by

one. He wanted to use a .22 because it was quieter and he also mentioned he wanted to buy or

make a silencer.

       14.     In June 2016, STEIN called for a meeting with the Crusaders. Attendees

included STEIN and the CHS. They met in a field with the stated intention of avoiding

surveillance by the FBI. During the meeting, STEIN brought up the Orlando night club shooting

and said that something needed to be done in response to this act of terrorism. He proposed

carrying out an attack similar to the Orlando shooting against a Muslim refugee location in

Garden City. The group discussed how they could carry out such an attack.

       15.     During a group Zello call that the CHS was part of in June 2016, STEIN and

ALLEN discussed conducting surveillance in Garden City at the African Community Center, the

mosques, and the Somali apartments. They wanted to get photos and videos of the places during

the day and also conduct surveillance throughout the night to see what the members of the

Somali community were doing. ALLEN stated that the purpose of the surveillance was to begin




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to put a plan into action. STEIN said he wanted to know where they are so they can “kill all of

the motherfucking cockroaches.”

       16.     During an in-person meeting in June 2016, STEIN stated:

               “Garden City for example, I know exactly where probably a
               majority of those motherfuckers are at in their homes…in Garden
               City…and…they’ve got these apartment complexes over there
               where literally every fucking apartment…that’s all it is, fucking
               goddamn cockroaches…and…I mean I wouldn’t be against if I
               could get a hold of some RPG’s (rocket propelled grenades), I’ll
               run some RPG’s right through…I’ll blow every goddamn building
               up right there…boom…I’m outta there.”

This was recorded via consensual monitoring by the CHS.

       17.     During a consensually monitored Zello conference call in June 2016, STEIN said:

               “The only fucking way this country’s ever going to get turned
               around is it will be a bloodbath and it will be a nasty, messy
               motherfucker. Unless a lot more people in this country wake up
               and smell the fucking coffee and decide they want this country
               back…we might be too late, if they do wake up…I think we can
               get it done. But it ain’t going to be nothing nice about it.”

       18.     During a consensually monitored Zello conference call in June 2016, STEIN,

WRIGHT, and ALLEN, along with a larger group, discussed targeting churches in Garden City

that have supported refugees. While discussing a particular church STEIN said, “That

motherfucker needs burnt to the ground.” When the discussion turned to burning mosques,

WRIGHT stated, “Yeah, during prayer time.”

       19.     In July 2016, STEIN, ALLEN, WRIGHT, and the CHS met in person at G&G

Mobile Home Center (“G&G”), a business in Liberal, Kansas owned by WRIGHT, and at

which ALLEN works. During the meeting, STEIN and ALLEN proposed and discussed a wide

range of potential targets, including Muslim-occupied apartment complexes, residences, and

places of worship, city/county commission meetings, local public officials, landlords who rent



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property to Muslim refugees, and organizations providing assistance to Muslim refugees. While

they were discussing these plans, WRIGHT pulled up Google Maps on the computer at his

business and began dropping pins on the map at these various locations using the label

“cockroaches.” Prior to the meeting WRIGHT researched guides for making explosives and

printed off a substantial number of pages of this material. The group brainstormed various

methods of attack, including murder, kidnapping, rape, and arson. They decided to pick a

specific target at their next meeting. At one point, ALLEN stated: “We’re going to talk about

killing people and going to prison for life. Less than sixty days, maybe forty days until

something major happens. We need to be preemptive before something happens.” STEIN

responded: “The only good Muslim is a dead Muslim.” At another point in the conversation,

STEIN said: “If you’re a Muslim I’m going to enjoy shooting you in the head.” Then he told the

group, “When we go on operations there’s no leaving anyone behind, even if it’s a one-year old,

I’m serious. I guarantee if I go on a mission those little fuckers are going bye-bye.”

       20.     On August 14, 2016, STEIN, ALLEN, WRIGHT, and the CHS met at G&G.

During this meeting, the group ultimately decided on a particular apartment complex in Garden

City, Kansas, as the target location of their attack due to the number of members of the Somali

community that live there and the fact that one of the apartments is used as a mosque. They

decided that they would obtain four vehicles, fill them with explosives, and park them at the four

corners of the apartment complex to create a big explosion. ALLEN stated that he could make

the explosives and mentioned aluminum powder and ammonium nitrate, among other

components. Later he said he already had the materials needed to make the explosives. Once he

had assembled the explosives, ALLEN said the group would need to test them prior to the

execution of the plan to make sure they worked. He also mentioned that he could detonate the



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bombs with a cell phone, and they discussed having militia members in different states purchase

prepaid cell phones for them so that they could not be traced. The group researched mosque

prayer times online to determine when the most people would be around. WRIGHT was tasked

with ordering glassware in order to make the bombs. STEIN was instructed to get a rock

tumbler to crush cans into aluminum powder. The CHS was told to do reconnaissance at the

complex to look for security cameras and take pictures and such. ALLEN decided he would

work on the group’s manifesto to release in conjunction with the attack. They discussed not

wanting to get caught and wanting for this to be the first of several things they do. This meeting

was recorded by the CHS via consensual monitoring.

       21.     On September 14, 2016, the CHS and STEIN spoke by telephone. During the

call, STEIN revealed his intentions to begin discussing project strategies via an encrypted mobile

messaging application. The CHS and STEIN briefly discussed installing this app on their

phones. STEIN indicated he and the CHS will only discuss conversations about projects on the

app.

       22.     On September 13, 2016, STEIN and the CHS spoke over Zello during which

STEIN stated they would need a 35-gallon container (trash can) if not a 55-gallon container in

which to store explosive material. STEIN suggested the group would need 4 – 6 trash cans in

order to avoid suspicion. STEIN believes the trash cans should be in place at a mosque no

earlier than three (3) hours prior to detonation in order to avoid suspicion.

       23.     During the course of the investigation, agents had the CHS introduce an FBI

Undercover Covert Employee (UCE) to STEIN, under the ruse that the CHS worked for the

UCE delivering money and contraband and that the UCE could provide automatic weapons and

components for explosive devices to STEIN and the others. On October 12, 2016, STEIN met



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with the UCE at a rural location in Finney County, Kansas. The FBI UCE (and other FBI UCEs

who were present in a support capacity) were holding automatic weapons that were provided

from the FBI lab in Quantico, Virginia. STEIN asked the UCE if he could shoot the weapons.

STEIN was given the opportunity to shoot the weapons and shot both a 5.56 fully automatic rifle

and a 7.62X39 fully automatic rifle.

       24.     After STEIN shot the rifles during this meeting, he spoke to the UCE regarding

the price of the rifles as well as the location of the apartment complex. STEIN agreed to go to

Garden City and show the UCE the apartment complex that houses the mosque. While in the

vehicle with the UCE, STEIN discussed trading drugs for explosives. STEIN also told the UCE

that WRIGHT and ALLEN have previously mixed explosives at G&G in Liberal, Kansas.

STEIN stated that he has fertilizer (Ammonium Nitrate) for the device and the fertilizer is

located about sixty miles away. (Both STEIN’s residence and G&G are located approximately

60 miles away from where this meeting took place.) STEIN directed the UCE to the apartment

complex in Garden City. This apartment complex houses a mosque and a large number of

members of the Somali community. When the UCE drove by the apartment complex, STEIN

told the UCE that the apartment complex is “full of goddamn cockroaches.”

       25.     At the same meeting, STEIN and the UCE discussed making a device for which

STEIN will deliver the Ammonium Nitrate. STEIN told the UCE about the recent arrest of

ALLEN (ALLEN had been arrested by local authorities the previous day) and stated that

ALLEN’s girlfriend “needs to disappear” because she is a concern. STEIN stated he believes

that ALLEN’s girlfriend is giving information to local law enforcement. STEIN also told the

UCE that he can come up with $200-$300 along with Ammonium Nitrate for the explosive




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device. The UCE agreed to this arrangement and promised to contact STEIN in the near future

to finalize the plan.

        26.     On October 11, 2016 at 1633 hours, Liberal Police Department (LPD) was

contacted by a female who identified herself as ALLEN’s girlfriend at a residence she shares

with ALLEN, in Liberal, Kansas, regarding a domestic battery. This female advised the LPD

dispatcher that she was battered by ALLEN during an argument over money and her leaving

their residence. She also advised the LPD dispatcher that ALLEN had access to firearms and

had already fled the scene. Finally, she showed LPD officers a room in the residence containing

a large amount of ammunition, brass casings, components and tools for use in the manufacture of

ammunition and firearms.

        27.     At approximately 1710 hours, officers located a maroon 1999 GMC Yukon,

bearing a Kansas tag at G&G. ALLEN was believed to be inside. As LPD officers were

planning on making contact with ALLEN, WRIGHT and ALLEN left the business and traveled

south on Highway 83 from Tucker Road in separate vehicles. LPD officers stopped both

vehicles and ALLEN was taken into custody. A search of ALLEN’s vehicle revealed a large

amount of ammunition, multiple AR-15 magazines, an AK47 magazine, and a Glock handgun

magazine, all loaded with ammunition. Also located was a tool used to create baffles for firearm

silencers or suppressors.

        28.     Later in the day on October 11, 2016, ALLEN’s girlfriend provided the following

information to the FBI: Within the last two weeks she had witnessed a white powdery substance

being produced on the counter at G&G in a manner consistent with YouTube videos she

observed with ALLEN depicting the process of manufacturing explosives. She also observed

glassware and a long glass stirring stick being used to manufacture the explosives while at G&G.



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She saw hydrogen peroxide, fuel tablets and cheesecloth being used for the manufacture of

explosives. In addition, she describes the substance being cooled in an ice bath (she stated the

substance was so unstable it needs to be produced in a climate controlled environment).

       29.     Kansas Highway Patrol Technical Trooper Bomb Technician BRODI GOSCH

has reviewed statements made by ALLEN’s girlfriend and, based on his training and experience,

believes them to be consistent with the manufacturing of a homemade explosive known as

Hexamethylene Triperoxide Diamine (HMTD). This is known as a primary explosive, very

sensitive to heat, shock and friction. This primary explosive presents a significant public safety

hazard and is usually used to create homemade blasting caps to initiate a larger explosive.

       30.     On October 12, 2016 search warrants were conducted at ALLEN’s residence and

G&G. A possible detonator was found inside G&G. The detonator was believed to be HMTD.

Agents also found a black thermometer, bamboo chopsticks with a white substance, Hydrogen

Peroxide 3%, Hydrogen Peroxide 35% (food grade), possible urea, and possible urea fertilizer.

All of the substances can be used in the production of improvised explosives. Agents used a

chemical testing tool to test the white substance on the bamboo chopsticks. The white substance

tested positive for Hexamine, an ingredient in HMTD. A yellow binder and paperwork labeled

“The Anarchist Cookbook,” was also found inside G&G.

       31.     Inside ALLEN’s residence, agents found a Sharps .22 caliber handgun and a

Glock 19 handgun. Agents also found at least four “ammo cans” full of ammunition, at least 13

boxes of ammunition and countless loose ammunition. LPD officers estimated that they found

and seized close to a metric ton of ammunition in ALLEN’s residence.




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                                           CONCLUSION

       Based on the above information, I respectfully submit that probable cause exists

to believe that Patrick Eugene STEIN, Curtis Wayne ALLEN, and Gavin Wayne

WRIGHT have committed the offense set forth above, and I respectfully request the

Court issue warrants for their arrest.

         FURTHER AFFIANT SAITH NOT.


                                         Chad B. Moore
                                         Chad B. Moore
                                         FBI Task Force Office



SUBSCRIBED TO AND SWORN before me this the 13th day of October, 2016.



                                         ____________________________________________
                                         HONORABLE JAMES P. O’HARA
                                         Chief United States Magistrate Judge
                                         District of Kansas




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